
TAM Medical Supply Corp., as Assignee of Moise James, Appellant, 
againstOmni Indemnity Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Sally E. Unger, J.), entered July 9, 2014. The order, insofar as appealed from, upon reargument and renewal, adhered to a prior order of the same court entered March 7, 2014 granting defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, by order entered March 7, 2014, the Civil Court granted a motion by defendant for summary judgment dismissing the complaint on the ground that defendant had not issued an insurance policy covering the subject loss and, thus, that plaintiff had sued the wrong party. Plaintiff subsequently moved for leave to reargue and renew. Plaintiff appeals from so much of an order of the Civil Court entered July 9, 2014 as, upon reargument and renewal, adhered to the March 7, 2014 order.
For the reasons stated in TAM Med. Supply Corp. v Omni Indem. Co. (48 Misc 3d 142[A], 2015 NY Slip Op 51294[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]), the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: September 22, 2017










